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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 LAURA MEADOWS,

        Plaintiff,

                v.                                         Case No. 23-cv-2509 JPG

 APERION CARE BRIDGEPORT, LLC.,

        Defendant.

                                             ORDER

GILBERT, Judge:
     Having been advised by counsel for the parties that the above action has been settled but

that additional time is needed to consummate the settlement, the Court DIRECTS the Clerk of

Court to enter judgment of dismissal with prejudice and without costs 60 days from the date of

this order. Should the parties fail to consummate settlement within 60 days, they may petition

the Court to delay entry of judgment until a later date. In light of the settlement, the Court

DENIES all motions pending in this case as moot and VACATES all court dates in this case.

IT IS SO ORDERED.

DATED: August 25, 2023

                                              /s/J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE
